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                                                                                          Il._I - D
                                                                                 U.S          IC T COURT
                                                                                                  ' ;iv.
                               UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGI A
                                   SAVANNAH DIVISIO N

                                                    SECOND SUPERSEDING Su' .
UNITED STATES OF AMERICA,                           INDICTMENT NO . CR 405-33 1
                                                    VIO : 18 U .S.C. § 371, CONSPIRACY
                  V.
                                                    18 U .S.C. § 1956 (h), MONEY
                                                    LAUNDERING CONSPIRACY
JONATHAN DEREK NIBLACK
KING VIRGIL CHEEK, III,                             18 U .S.C . § 1952, INTERSTATE
BRYANT KEITH SHARP,                                 TRAVEL IN AID OF RACKETEERIN G
MITCHELL E . WILSON,
RODNEY MADDOX COFFEY,                                18 U .S .C. § 1344, BANK FRAUD
STACY MCBEAN, CHARLES ALLEN
AIKEN, BRYAN KEITH DAVIS,                            18 U .S.C. § 2, AIDING AND ABETTING
BRIAN GARIETH BETTS ,
JOHN SCOTT and KRYSTLL JANAL
GARDNER a/k/a VERONICA SMITH

                                             ORDE R

         The Government having moved the court to dismiss all charges in the Second Superseding

Indictment , without prejudice, as to defendant STACY McBEAN only, it is hereb y

         CONSIDERED, ADJUDGED, and DECREED that said motion is GRANTED and the

charges against defendant STACY McBEAN in the Second Superseding Indictment in the abov e

matter are hereby dismissed, without prejudice .

         SO ORDERED this           15 day of , 2007 .

                                               ON, 19 . AVANT EDENFIELD
                                             JUDGE
                                             UNITED STATES DISTRICT COUR T



Order Prepared by :
Brian F . McEvoy
Assistant United States Attorney
Georgia Bar No . 490845
